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             IN THE UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF PENNSYLVANIA


CARLA CAIN,                             :
        Plaintiff,                      : CIVIL ACTION
             v.                         :
                                        : NO. 22-0360
CINDY BASS, et al.,                     :
        Defendants.                     :

                                     ORDER

     AND NOW, this 19th day of May 2022, upon consideration of the

Motion to Dismiss (ECF No. 13) and the Memorandum in Opposition (ECF

No. 17), it is hereby ORDERED that the Motion to Dismiss (ECF No. 13) is

DENIED.

     It is further ORDERED that the parties shall meet and confer by

Thursday, June 2, 2022 at 12 p.m. and stipulate to a proposed scheduling

order on the Motion for Preliminary Injunction (ECF No. 15) including dates

to complete discovery for a hearing on a preliminary injunction, a date to

answer the Motion (ECF No. 15), a date for the hearing, and the number of

days required. Discovery should address only the issues to be presented at the

hearing, and the parties should stipulate to as much of the record as possible.

The parties shall share with each other who their witnesses will be because

the hearing will not be an opportunity for depositions. Cross-examination of
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any witness will not be an opportunity for discovery, so discovery

depositions need to be taken if you want to target your questions, and the

parties must identify who they will be calling and the substance of the

testimony, so the parties can decide if they want to depose the witness.

Parties will not waive their right to re-depose witnesses or call them for the

first time if not deposed for the preliminary injunction hearing.



                                             BY THE COURT:

                                             /s/ Chad F. Kenney
                                             CHAD F. KENNEY, JUDGE
